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4
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5    ANGELA SHAVLOVSKY

6

7                          IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,             )    2:11-CR-00427 LKK
                                           )
11                            Plaintiff,   )    STIPULATION AND ORDER
                                           )    TO CONTINUE STATUS CONFERENCE
12   v.                                    )
                                           )
13                                         )
     ANGELA SHAVLOVSKY,                    )
14                                         )
                             Defendant.    )
15   __________________________________    )

16
                                        STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jill Thomas, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for status conference, August 12, 2014 at 9:15 a.m.,
21
     in the above-captioned matter, and to continue the status conference to
22
     September 16, 2014 at 9:15 a.m. in the courtroom of the Honorable Lawrence K.
23
     Karlton.
24
           The reason for this request is that additional time is needed by Ms.
25
     Radekin to complete review of discovery, which is voluminous (discovery
26
     currently ends with item/page number 63026, counsel has reviewed through 7078
27
     as of this date) and includes a number of recordings. There is also
28



                                    Stipulation and Order - 1
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1    additional defense preparation and investigation Ms. Radekin needs to

2    complete.   The Court is advised that Ms. Thomas concurs with this request and

3    has authorized Ms. Radekin to sign this stipulation on her behalf.

4          The parties further agree and stipulate that the time period from the

5    filing of this stipulation until September 16, 2014 should be excluded in

6    computing time for commencement of trial under the Speedy Trial Act, based

7    upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

8    Code T4, to allow reasonable time necessary for effective defense

9    preparation.   It is further agreed and stipulated that the ends of justice

10   served in granting the request outweigh the best interests of the public and

11   the defendant in a speedy trial.

12         Accordingly, the parties respectfully request the Court adopt this

13   proposed stipulation.

14   IT IS SO STIPULATED

15   Dated: August 7, 2014                        BENJAMIN WAGNER
                                                  United States Attorney
16
                                          By:      /s/ Jill Thomas
17                                                JILL THOMAS
                                                  Assistant United States Attorney
18

19   Dated: August 7, 2014                         /s/ Erin J. Radekin
                                                  ERIN J. RADEKIN
20                                                Attorney for Defendant
                                                  ANGELA SHAVLOVKSY
21

22
                                          ORDER
23
           For the reasons set forth in the accompanying stipulation and
24
     declaration of counsel, the status conference date of August 12, 2014 at 9:15
25
     a.m. is VACATED and the above-captioned matter is set for status conference
26
     on September 16, 2014 at 9:15 a.m.   The Court finds excludable time in this
27
     matter through September 16, 2014 under 18 U.S.C. § 3161(h)(7)(B)(iv) and
28



                                   Stipulation and Order - 2
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1    Local Code T4, to allow reasonable time necessary for effective defense

2    preparation.   For the reasons stipulated by the parties, the Court finds that

3    the interest of justice served by granting the request outweigh the best

4    interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

5    3161(h)(7)(A), (h)(7)(B)(iv).

6    IT IS SO ORDERED.

7    Dated: August 8, 2014

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                                     Stipulation and Order - 3
